data-owners Page 1 55039 (11-87)

Issued 08-31~2006
MUTUAL INSURANCE COMPANY TAILORED PRDTECTION FOLICY DECLARATIONS

6101 ANACAPRI BLVD., LANSING, MI 48917-3999
Effective 08-01-2006

Aewcv JAMIESON & FISHER INC
19-0318-00 MKT TERR 043 (901) 476-8644 POLICY NUMBER 062319'03457487'06

lemEo BURLISON GIN CU INC & KELCUT

WAREHUUSES LLC
Agency POLICY TERM
NmREs PO BUX 146 Bill 12:01 a.m. 12:01 a.m.

08~01'2006t° 08~01~2007

 

 

 

BURLISON, TN 38015~0146

 

 

CUMMON POLICV INFORMATION
BUSINESS DESCRIPTION: Cotton Gin/Harehouse
ENTITY: Corporation

 

 

 

THIS POLICY CONSISTS DF THE FOLLDWING COVERAGE PART(S). PREMIUM

THIS FREMIUM MAY BE SUBJECT T0 ADJUSTMENT.

COMMERCIAL GENERAL LIABILITY COVERAGE $8,401.00
TOTAL $8,401.00

 

 

 

PREM|U|V| SHOWN ABOVE FOR COMN|ERC|AL GENERAL L|ABIL|TY COVERAGE lS AN ADVANCED PREN||UM
DEPOS|T AND |\/|AY BE SUBJECT TO AUD|T.

FORMS THAT APPLY T0 ALL COVERAGE PART SHOWN ABOVE (EXCEPT GARAGE LIABILITV, DEALER'S
BLANKET, CUMMERCIAL AUTOMOBILE, IF APPLICABLE)
55001 (01-87)¢//

A 8% CUMULATIVE MULTI~ ~POLICY DISCOUNT APPLIES. SUPPURTING POLICIES ARE MARKED WITH
AN (X): COMM UMB( ) COMM AUTO(X) WC( ) LIFE( ) PERSONAL( ) FARM(

A Merit Rating Plan Factor of 1.00 Applies.

Countehsigned By:

 

    

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duto-ownel'.$' Page 1 55040 c11/a7)

Issued 08-31-2006
MUTUAL INSURANCE COMPANY TAILORED FROTECTION POLICY DECLARATIONS

6101 ANACAPRI BLVD., LANSING, MI 48917~3999
Effective 08-01'2006
Aowcv JAMIESON & FISHER INC
19-0318-00 MKT TERR 043 (901) 476~8644 POLICY NUMBER 062319'03457487-06

\NamEo BURLISON GIN CO INC & KELCUT
WAREHOUSES LLC

 

 

Agency POLICY TERM
Amm§s PU BOX 146 Bill 12:01 a.m¥ 12:01 a.m.
o
BURLISDN, TN 38015~0146 08'01'2006 03'01“2007

 

 

 

COMMERCIAL GENERAL LIABILITY COVERAGE

LIMITS OF INSURANCE `
General Aggregate $2,000,000

(Other Than Products-Completed Dperations)

Products-Completed Operations Aggregate 2,000,000

Personal Injury And Advertising Injury 1,000,000

Each 0ccurrence 1,000,000

Commercial General Liabiliiy Plus Endorsement 55091
Damage to Premises Rented to You 300,000 Any One Premises
(Five, Lightning, Explosion, And Water Damage)

Medical Payments 10,000 Any One Person
Hired Auto & Non-Owned Auto 1,000,000 Each 0ccurrence

Expanded Coverage Deiails See Form:
Extended Hatercraft
Personal Injury Protection
Broadened Supplementary Payments
Broadened Knowledge Of 0ccurrence
Additional Products-Completed Uperations Aggregate

Twice the "General Aggregate Limit", shown above, is provided at no additional
charge for each 12 month period in accordance with form 55300.
AUDIT TYPE: Annual Audit

FORMS THAT APPLY TO LIABILITY: 59350 (01~06)°’§5146 (06-04)'/;5091 (07~05)‘//
IL0021 (11-85)’/55296 (07'05)»/55300 (07'051/’IL0250 (02~89)c/IL0017 (11-85)¢»//

LOCATION OF PREMISES YOU OWN, RENT OR OCCUFY

LOC 001 BLDG 001 6204 Hwy 59 West
Burlison, TN 38015~0146

TERRITORY: 005 COUNTY: Tipton

Premium _
Classi'Fication Subline Basis Rates Prem:l.um
CODE 00501 Prem/Up Frem
Commercial General Liability Plus Prem/Op Inc Inc _ Inc

Endorsement Included At 7% Of The
Premises Operation Premium

 

 

Page 2 55040 (11/87)
AUTO~OWNERS (MUTUAL) INS. CD. Issued 08-31~2006
Acmcv JAMIESON & FISHER INC Agency POLICY NUMBER062319-03457487-06
19~0318~00 MKT TERR 043 Bill
mwkw BURLISON GIN CO INC & KELCUT Term 08-01-2006 to 08'01-2007
COMMERCIAL GENERAL LIABILITY COVERAGE
CODE 11248 Gr§s§oga%§§ Each lggg $596 on
C it 0 W , , -
° °" ' °°1 M°"°ha"ts gfzgjg:mp up 1,800,000 351 $632.00
' ' coDE 51986 6r350003000 Eachllggg $3 990 00
C°tt°" 61" operatl°"s :::Q;g§mp op 210001000 11357 $2§714100
FUREIGN TERRURISM ~ CERTIFIED ACTS SEE FURM 59350, 55405, 59389 $79.00
LOCATION 001 PREMIUM $8,011.00
LOCATION OF PREMISES YOU OWN, RENT OR OCCUPY
LOC 002 BLDG 001 300 Acres Farm Land Accross From Gin
Burlington, TN 38015
TERRITORY: 005 COUNTY: Tipton
_ _ _ Premium _
Classificat:l.on Subline Basis Ra'l:es Pl‘em;l.um
CDDE 45539 Acres Each 1 a ;~;..
Land - Uccupied By Persons Other ThaPrem/Op 330 1-160 $383-00
The Insured For Business Purposes - Pp°d/C°mp gp 330 .010 $3.00
(Lessor's Risk 0n1y)
FOREIGN TERRORISM - CERTIFIED ACTS SEE FORM 59350, 55405, 59389 $4.00

 

LOCATION 002 PREMIUM $390.00

 

 

 

YOUR lNSURANCE AUD|T HOW TO SAVE TlME AND MONEY

14019 (4-92)

WHAT lS AN lNSURANCE AUDIT?

insurance audits are typically performed on commercial
insurance policies providing workers compensation,
general liability, garage liability and umbrella coverages.
When these policies are issued, you are asked to pay an
estimated premium. Estimated premiums are based on
the nature of your business and your estimate of expo-
sures (i.e. payroll, sales, etc.) for the policy period.

Once your policy expires, we conduct an audit (collecting
information on actual exposures and operations). From
this information, we determine the final earned premium.
Premium adjustments are then determined by compar-
ing audited exposures and operations with those ori-
ginally estimated

WHAT RECORDS ARE NEEDED FOR THE AUD|T?

Records are important to the audit process. They pro-
vide and verify information, save time and minimize your
insurance costs. The field auditor will let you know
which of the following records will be needed for your
audit When the audit appointment is made.

0 PAYROLL RECORDS - includes payroll journal and
summary, federal tax reports (941’3), state unem-
ployment reports and individual earnings records
Totals should be kept for overtime when applicable.
Garage Liability payrolls should be kept per em-
ployee per quarter (3 months).

0 SALES JOURNAL - includes all goods or products
sold, rented and/or distributed as well as service,
repair and installation. Sa|es or excise taxes col-
lected separately and submitted to the government
need to be identified in order to be excluded

0 CASH DlSBURSEMENTS - shows subcontractors
materials and casual labor.

0 CERT|FlCATES OF lNSURANCE - for subcontractors
used during the policy period for construction,
erection and/or structural alteration, showing liabil-
ity and Workers Compensation insurance coverage.

WHEN AND HOW WlLL THE AUD|T BE DONE?

We will collect audit information from you shortly after
your policy expires

Smal|er, less complex policies may only require that you
assemble and send the necessary information to us, or
have the information available when a telephone auditor
calls.

Larger and more complicated policies are handled by a
neld auditor who will schedule an appointment With you
a few weeks after the policy expires.

lt is important for the auditor to ask questions about your
operations lf you cannot be present to answer ques-
tions, it is important for someone to be available that is
familiar with the specifics of your entire business oper-
ations.

lf you direct us to your accountant, We will obtain as
much information as possible from your accountant and
contact you if we have additional questions

l\/lost of our audits only take a half hour or less. Audits
of larger policies may take longer. Though the auditor
will have a number of questions, you won't have to be
directly involved during the entire audit if adequate re-
cords are availab|e.

lf you must change or cancel a scheduled appointment
please advise the auditor as far in advance as you can.
lt is best to schedule and complete this audit within 30
days from your policy expiration date.

HOW CAN YOU SAVE MONEY?

There are several ways you can save on premium dol-
lars depending on the type of business and coverages
you have. Not all of the following may apply to your
particular business.

0 PAYROLL DlVlSlON - A single employee's payroll
can be divided when the employee works in con-
struction, erection, or in trucking operations which
are conducted as a separate enterprise Proper re-
cords must be kept in dollar amounts that reflect
work actually spent in the above mentioned classes
before a breakdown can be applied. Without ade-
quate records, the entire payroll for the employee
must be placed in the highest rated classification

¢ EMPLOYEE TlPS - Tips declared by employees may
be excluded from their gross payroll if separately
identified

0 CERT|FlCATES OF lNSURANCE - Have certificates
available for the audit (at your premises or your ac-
countant’s) to ensure that charges are not made
unnecessarily Certificates must cover the period
when the subcontractor worked for you (this may
require Certificates covering two different policy
terms for the subcontractor in some cases).

0 DRIVERS - (For general liability coverage), employ-
ees With the sole responsibility of driving may often
be excluded from chargeable payroll if their wages
are shown separately. However, employees who
perform other duties besides driving must be placed
in the highest rated class describing their duties.

Your business is unique. lf you have questions about
how your specific circumstances will affect savings,
please contact your insurance agent.

 

BAS|C DEF|N|T|ONS

RENlUNERATlON - Commonly called payrol|. lncludes
wages, commissions bonuses, overtime pay, pay for
holidays vacations and sickness payment for piece
work, value of meals and lodging and other substitutes
for money.

OVERTll\/|E - Those hours worked for which there is an
increase in the rate of pay, |ncludes:

0 Work in excess of 8 hours per day or 40 hours per
week.

¢ Work on Saturdays, Sundays or holidays

0 Work in any day or week in excess of a guaranteed
wage agreement.

Extra pay for shift differential is not considered overtime.

Ordinari|y, overtime pay is equal to 1 1/2 times the reg-
ular hourly rate. For example, a regular pay rate of $10
per hour at time and a half generates a $15 per hour
overtime rate.

lf the extra $5 of pay is shown separately, it is excluded
in total. lf total overtime wage is shown in a combined
amount of $15 (regular pay plus increase) and included
in gross payroll, one third ($5) will be deducted from
gross pay,

lf the overtime wage is calculated at double time, one
half will be deducted from gross payl

GROSS SALES - Gross amount charged by you or others
trading under your name, for all goods or products sold
or distributed operations performed and rentals Some
deductions from gross sales include sales or excise tax,
returns and allowances and finance charges for items
sold on installment

SUBCONTRACTORS - The term “subcontractor” is often
used interchangeably with “independent contractor.” We
ordinarily apply the definition to subcontractors per-
forming construction, erection or structural alteration for
a general contractor. l\/lost workers compensation laws
hold you responsible for employees of an uninsured
subcontractor. |n some states, they may extend to an
uninsured subcontractor without employees if an em-
ployee~employer relationship can be established These
people will also be charged under a liability policy as
though they were your employees if there is no certif-
icate showing evidence of insurance. Subcontractors
can easily obtain a Certiticate of insurance through their
insurance agent.

COMMONLY ASKED QUEST|ONS

Q: Why is an audit necessary?

Al To calculate the exact amount of premium you wi||
be charged Actual exposures and operations are
determined by an audit. After they are compared
with initial estimates and later endorsementsl a final
audit premium is determined

lf overtime is not summarized will l still get credit?
Overtime records must show overtime pay sepa-
rately by employee or by classification or it will not
be deducted

Q: |fl don’t have Certificates of lnsurance for the audit,
will l be able to get them?

A: lt is in your best interest to request a certificate from
a subcontractor at the time the work is performed
rather than at the time of audit. You will be charged
for those subcontractors not providing certiticates
as though they Were your employees

?.>Q

Q: Several of my employees do more than one type of
Work. How should l assign their payrolls?

A: lf these employees are not in construction they will
go into the highest rated class in which they work.
Payrolls may be divided into appropriate con-
struction classifications provided the division is re-
flected in the original records in dollar amounts

Some of my work could be considered clerical,
should | separate it?

The clerical classification cannot be used with any
other class for division of a single employee's pay-
roll.

ls it necessary to provide audit information if my re-
newal policy has been cancelled?

Yes, policies are issued using estimated payroll or
sales Final premium needs to be developed from
the actual payroll or sales during the policy term.

 

 

coiviiviERciAL GENERAL LiABiLiTY
55091 (7-05)

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

COMMERC|AL GENERAL LlABlLlTY PLUS ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERC|AL GENERAL LlABlLlTY COVERAGE PART.

1.

EXTENDED WATERCRAFT COVERAGE

Under SECT|ON l - COVERAGES, COVERAGE A.
BOD|LY lNJURY AND PROPERTY DAMAGE
L|AB|L|TY, 2. Exclusions, g. exclusion (2) is de-
leted and is replaced by the following:

(2) A watercraft you do not own that is:
(a) Less than 50 feet long; and

(b) Not being used to carry persons or
property for a charge;

H|RED AUTO AND NON-OWNED AUTO LlABlLlTY
COVERAGE

Coverage for ”bodily injury" and "property dam-
age” liability provided under SECT|ON l
COVERAGES, COVERAGE A. BOD|LY lNJURY
AND PROPERTY DAMAGE LlABlLlTY, is extended
as follows under this item, but only if you do not
have any other insurance available to you Which
affords the same or similar coverage.

Coverage

We will pay those sums the insured becomes le-
gally obligated to pay as damages because of
”bodily injury" or "property damage” arising out of
the maintenance or use of an "auto”:

a. You do not own;

b. Which is not registered in your name; or

c. Which is not leased or rented to you for more
than ninety consecutive days

and which is used in your business

Exclusions

With respect to only H|RED AUTO AND NON-
OWNED AUTO LlABlLlTY COVERAGE, the exclu-
sions which apply to SECT|ON l - COVERAGES,
COVERAGE A. BOD|LY lNJURY AND PROPERTY
DAMAGE LlABlLlTY, other than the Nuclear En-
ergy Liability Exclusion Endorsement, do not ap-
ply. The following exclusions apply to this cover-
age:

This coverage does not apply to:

a. ”Bodily injury" or "property damage" expected
or intended from the standpoint of the insured
This exclusion does not apply to ”bodi|y in-
vjury” resulting from the use of reasonable
force to protect persons or property.

b. Any obligation of the insured under a workers
compensation, disability benefits or unem-
ployment compensation law or any similar
law.

c. (1) ”Bodily injury" or "property damage”
arising out of the actual, alleged or
threatened discharge, dispersa|, seepage,
migration, release or escape of "po|lut-
ants”:

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Page ‘l of 7

 

 

(2)

(a) that are, or are contained in any prop-
erty that is:

1) being transported or towed by,
handled or prepared for placement
into or upon, or taken from the
"auto”;

2) otherwise in the course of transit
by you or on your behalf; or

3) being disposed of, stored, treated
or processed into or upon the
/)autorl;

(b) before such "pollutants" or property
containing "pollutants" are moved
from the place they are accepted by
you or anyone acting on your behalf
for placement into or onto the ”auto”;
or

(c) after such "pollutants" or property
containing "pollutants" are removed
from the ”auto” to where they are de-
livered, disposed of or abandoned by
you or anyone acting in your behalf.

c.(1)a. above does not apply to "pollut-
ants” that are needed or result from the
normal mechanical, electrical or hydraulic
functioning of the ”auto” or its parts if the
discharge release, escape, seepage, mi-
gration or dispersal of such "pollutants" is
directly from a part of the ”auto” designed
to hold, store, receive or dispose of such
"pollutants" by the ”auto” manufacturer.

c.(1)(b.) and c.(1)(c.) above do not apply, if
as a direct result of maintenance or use of
the ”auto”, "pollutants" or property con-
taining "pollutants" which are not in or
upon the ”auto”, are upset, overturned or
damaged at any premises not owned by
or leased to you. The discharge, release,
escape, seepage, migration or dispersal
of the "pollutants" must be directly caused
by such upset, overturn or damage.

Any loss, cost or expense arising out of
any:

d.

f.

(a) Request, demand or order that any in-
sured or others test for, monitor, clean
up, remove, contain, treat detoxify or
neutralize, or in any way respond to,
or assess the effects of ”pollutants”; or

(b) Claim or ”suit” by or on behalf of a
governmental authority for damages
because of testing for, monitoring,
cleaning up, removing, containing,
treating, detoxifying or neutralizing, or
in any way responding to, or assess-
ing the effects of "pollutants”.

”Bodily injury" or "property damage” however
caused, arising, directly or indirectly, out of:

(1)
(2)

(3)

War, including undeclared or civil war;

Warlike action by a military force, includ-
ing action in hindering or defending
against an actual or expected attack, by
any government sovereign or other
authority using military personnel or other
agents; or

lnsurrection, rebellion, revolution, usurped
power, or action taken by governmental
authority in hindering or defending against
any of these.

”Bodily injury" or "property damage” for which
the insured is obligated to pay damages by
reason of the assumption of liability in a con-

tract or agreement

This exclusion does not

apply to liability for damages:

(1)

(2)

Assumed in a contract or agreement that `
is an ”insured contract”, provided the
"bodi|y injury” or "property damage” oc-
curs subsequent to the execution of the
contract or agreement However, if the
insurance under this policy does not apply
to the liability of the insured, it also does
not apply to such liability assumed by the
insured under an ”insured contrac ”.

That the insured would have in the ab-
sence of the contract or agreement

”Property damage” to:

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Page 2 of 7

 

(1) Property owned or being transported by,
or rented or loaned to any insured; or

(2) Property in the care, custody or control of
any insured

other than "property damage” to a residence
or a private garage by a private passenger
"auto” covered by this coverage.

g. ”Bodily injury" to:

(1) An ”employee” of the insured arising out
of and in the course of employment by the
insured; or

(2) The spouse, child, parent brother or sis-
ter of that ”employee” as a consequence
of Paragraph (1) above.

This exclusion applies:

(1) Whether the insured may be liable as an
employer or in any other capacity; and

(2) To any obligation to share damages with
or repay someone else who must pay
damages because of the injury.

This exclusion does not apply to:

(1) Liability assumed by the insured under an
”insured contract”.

(2) "Bodily injury” to any ”employee” of the
insured arising out of and in the course of
his domestic employment by the insured
unless benefits for such injury are in
whole or in part either payable or re-
quired to be provided under any workers
compensation law.

Who ls An insured
With respect to only this coverage, SECTlON ll -
WHO lS AN lNSURED, is deleted and replaced by

the following:

SECT|ON ll - WHO lS AN lNSURED

Each of the following is an insured with respect to
this coverage:

a.

b.

You.

Your partners if you are designated in the
Declarations as a partnership or a joint ven-
ture.

Your members if you are designated in the
Declarations as a limited liability company.

Your ”executive officers” if you are designated
in the Declarations as an organization other
than a partnership, joint venture or limited li-
ability company.

Any person using the "auto” and any person
or organization legally responsible for the use
of an "auto” not owned by such person or or-
ganization, provided the actual use is with
your permission.

None of the following is an insured;

Any person engaged in the business of his or
her employer with respect to ”bodily injury" to
any co-”employee” of such person injured in
the course of employment

Any person using the "auto” and any person
other than you, legally responsible for its use
with respect to an "auto” owned or registered
in the name of:

(1) Such person; or

(2) Any partner or ”executive officer” of yours
or a member of his or her household; or

(3) Any ”employee" or agent of yours who is
granted an operating allowance of any
sort for the use of such ”auto”.

Any person while employed in or otherwise
engaged in duties in connection With an "auto
business", other than an ”auto business” you
operate.

The owner or lessee (of whom you are a
sublessee) of a hired "auto” or the owner of

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an "auto” you do not own or which is not reg-
istered in your name which is used in your
business or any agent or employee of any
such owner or lessee.

e. Any person or organization with respect to the
conduct of any current or past partnership or
joint venture that is not shown as a Named
insured in the Declarations

Additiona| Definitions

The following definition applies to only this cover-
age:

"Auto business” means the business or occupa-
tion of selling, repairing, servicing, storing or
parking "autos”.

Limits of insurance

With respect to only this coverage, SECT|ON l|| -
LlMlTS OF lNSURANCE, is deleted and replaced
by the following:

SECT|ON lll - LlMlTS OF lNSURANCE

a. The Limits of insurance shown in the Declara-
tions and the rules below fix the most we will
pay regardless of the number of:

(1) lnsureds;
(2) Claims made or ”suits” brought; or

(3) Persons or organizations making claims
or bringing ”suits".

b. We will pay damages for ”bodily injury" or
"property damage” up to the limits of liability
stated in the Declarations for this coverage.
Such damages shall be paid as follows:

(1) When Hired Auto and Non-Owned Auto
Each Occurrence Limit is shown in the
Declarations such limit is the total
amount of coverage and the most we will
pay for all damages because of or arising
out of all ”bodily injury" and "property
damage” in any one ”occurrence”.

(2) When Bodily injury Hired Auto and Non-
Owned Auto Each Occurrence Limit and
Property Damage Hired Auto and Non-
Owned Auto Each Occurrence Limit are
shown in the Declarations:

(a) The limit shown for Bodily injury Hired

Auto and Non-Owned Auto Each Oc-
currence is the total amount of cover-
age and the most we will pay for all
damages because of or arising out of
all ”bodily injury" in any one ”occur~
rence”.

(b) The limit shown for Property Damage
Hired Auto and Non-Owned Auto Each
Occurrence is the total amount of cov-
erage and the most we will pay for all
damages because of or arising out of
all "property damage” in any one ”oc-
currence”.

3. BROADENED SUPPLEMENTARY PAYMENTS

COVERAGE

Under SECT|ON l - COVERAGES, COVERAGE A.
BOD|LY lNJURY AND PROPERTY DAMAGE
LlABlLlTY, COVERAGE B. PERSONAL lNJURY
AND ADVERTIS|NG lNJURY LlABlLlTY and

suPPLEMENTARY PAYMENTS - covERAeEs A*'- ~`i

AND B:

Paragraph 4., the amount we will pay for the ac-
tual loss of earnings is increased from $250 per
day to $400 per day.

ADD|T|ONAL PRODUCTS-COMPLETED
OPERAT|ONS AGGREGATE LlM|T

lf the endorsement EXCLUS|ON - PRODUCTS
COMPLETED OPERATlONS HAZARD, CG 21 04, is
not attached to this policy, then the following is
added to SECT|ON ll| - LlMlTS OF lNSURANCE:

Commencing with the effective date of this policy,
we will provide one additional Products-
Compieted Operations Aggregate Limit, for each
annual period, equal to the amount of the Prod-
ucts-Compieted Operations Aggregate Limit
shown in the Declarations The maximum Prod-

ucts Compieted-Operations Aggregate Limit for

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any annual period will be no more than two times
the original Products-Completed Operations Ag-
gregate Limit

5. PERSONAL lNJURY EXTENSION COVERAGE

a. if the endorsement EXCLUS|ON -- PERSONAL
lNJURY AND ADVERTlSlNG lNJURY, 55350, is
attached to this policy, then this provision, 5.
PERSONAL lNJURY EXTENSlON COVERAGE,
does not apply,

b. if the endorsement EXCLUS|ON -- PERSONAL
lNJURY AND ADVERTlSlNG lNJURY, 55350, is
not attached to this policy, then under
SECT|ON V - DEF|N|T|ONS:

SECT|ON V - DEF|N|T|ONS, 15. "Personal in-
jury" is deleted and replaced by the following:

15. ”Personal injury" means, other than ”bod-
ily injury", arising out of one or more of
the following offenses:

a. False arrest detention or imprison-
ment;

b. Malicious prosecution;

- c. The wrongful eviction from, wrongful
entry into, or invasion of the right of
private occupancy of a room, dwelling
or premises that a person occupies by
or on behalf of its owner, landlord or
lessor;

d. Oral or written publication of material
that slanders or libels a person or or-
ganization or disparages a person’s or
organization’s goods, products or
services;

e. Oral or written publication of material
that violates a person’s right of pri-
vacy; or

f. Discrimination and humiliation.

6. BROADENED KNOWLEDGE OF OCCURRENCE

Under SECT|ON |V - COMMERC|AL GENERAL
LlABlLlTY COND|TlONS, 2. Duties |n The Event Of
Occurrence, Offense, Claim Or Suit, the following
paragraph is added:

Paragraphs a. and b. of this condition will not
serve to deny any claim for failure to provide us
with notice as soon as practicable after an "occur-
rence” or an offense which may result in a claim:

a. if the notice of a new claim is given to your
”employee”; and

b. That ”employee” fails to provide us with notice
as soon as practicablel

This exception shall not apply:
a. To you; or

b. To any officer, director, partner, risk manager
or insurance manager of yours.

FlRE, LlGHTN|NG, EXPLOS|ON AND WATER
DAMAGE LEGAL LlABlLlTY

a. Fire, Lightning, Exp|osion and Water Damage
Lega| Liability Coverage

Under SECT|ON l - COVERAGES, COVERAGE
A. BODlL¥ lNJURY AND PROPERTY DAMAGE
LlABlLlTY, the last paragraph is deleted and
replaced by the following:

Exclusions c. through n. do not apply to dam-
age by fire, |ightning, explosion or water
damage to premises rented to you or tempo-
rarily occupied by you with permission of the
owner. A separate limit of insurance applies

to this coverage as described in 7. FlRE,_ 7

LIGHTN|NG, EXPLOS|ON AND WATER
DAMAGE LEGAL LlABlLlTY, b. Limits Of ln- '
SU|'anCe.

The following additional exclusions apply to
"property damage” arising out of Water Dam-
age to premises rented to you or temporarily
occupied by you with permission of the owner:

(1) ”Property damage” to:

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(a) The interior of the premises caused by
or resulting from rain or snow,
whether driven by wind or not; or

(b) Heating, air conditioning, plumbing or
fire protection systems or other
equipment or appliances

(2) ”Property damage” caused by or resulting
from any of the following:

(a) Mechanical breakdown, including
bursting or rupture caused by cen-
trifugal force;

(b) Cracking, settling, expansion or
shrinking;

(c) Smoke or smog;

(d) Birds, insects rodents or other ani-
mals;

(e) Wear and tear;

(f) Corrosion, rust, decay, fungus, dete-
rioration, hidden or latent defect or
any quality in property that causes
such property to destroy or damage
itself; or

(g) Water that flows or leaks from any
heating, air conditioning, plumbing or
fire protection system caused by or
resulting from freezing, unless:

1) You make a reasonable effort to
maintain heat in the building or
structure; or

2) You drain the equipment and shut
off the water supply if the heat is
not maintained

(3) ”Property damage” caused directly or in-
directly by any of the following:

(a) Water that backs up from a drain or
sewer;

(b) Mud flow or mudslide;

(c) Volcanic eruption, explosion or effu-
sion;

(d) Any earth movement such as earth-
quake, landslide, mine subsidence,
earth sinking, earth rising or earth
shifting;

(e) Flood, surface water, waves tides,
tidal waves storm surge, overflow of
any body of water, or their spray, all
whether wind driven or not;

(f) Water under the ground surface
pressing on, or seeping or flowing
through:

1) Walls, foundations floors or paved
surfaces;

2) Basements, whether paved or not;
or

3) Doors, windows or other openings

(4) ”Property damage” for which the insured
is obligated to pay as damages by reason
of the assumption of liability in a contract
or agreement This exclusion does not
apply to liability for damages that the in-
sured would have in the absence of this
contract or agreement

Limits of lnsurance

With respect to this coverage only, under
SECT|ON lll - LlMlTS OF lNSURANCE, para-
graph 6. is deleted and replaced by the fol-
lowing:

6. The most we will pay under Coverage A
for damages because of "property dam-
age” to premises rented to you or tempo-
rarily occupied by you with permission of
the owner arising out of or caused by fire,
lightning, explosion and water damage is
the amount shown in the Declarations un-
der Fire, Lightning, Explosion and Water
Damage Lega| Liability.

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c. Under SECT|ON |V - COMMERC|AL GENERAL
LlABlLlTY CONDiTlONS, 4. Other |nsurance,
paragraph b., the word fire is amended to in-
clude fire, lightning, explosion or water dam-
age.

 

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COMMERC|AL GENERAL LlABlLlTY
55146 (6-04)

THlS ENDORSEMENT CHANGES THE POL|C¥. PLEASE READ lT CAREFULL¥.

UPSET AND OVERSPRAY COVERAGE

This endorsement modines insurance provided under the following:

COMMERC|AL GENERAL LlABlLlTY COVERAGE PART

lt is agreed the coverage for "property damage” liability with respect to your operations is extended as follows:

1.

COVERAGE

We will pay those sums which you become legally obligated to pay for "property damage” caused directly by
immediate, abrupt and accidental:

a. Upset, overturn or collision of your ”mobile equipment” while transporting; or
b. ”Overspray” during your application or dispersal of

"pollutants" which are intended for and normally used in your operations The operations must be in compliance
with iocal, state, and federal ordinances and laws

This is not an additional amount of insurance and does not increase the Limits of insurance stated in the Decla-
rations.

EXCLUS|ONS

a. With regard only to the coverage provided by this endorsement Exclusion f. of Section l - Coverage A -
Bodily injury And Property Damage Liability is deleted and replaced by the following:

f. Pollution
Any loss cost or expense arising out of any:

(1) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
monitor, clean up, remove, contain, treat detoxify or neutralize, or in any way respond to, or assess
the effects of ”pollutants”; or

(2) Claim or suit by or on behalf of a governmental authority for damages because of testing for, moni-
toring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way re-
sponding to, or assessing the effects of ”pollutants”.

However, this paragraph does not apply to liability for damages because of covered "property damage”
that the insured would have in the absence of such request demand, order or statutory or regulatory
requirement or such claim or ”suit” by or on behalf of a governmental authority.

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b. The following exclusion is added to Paragraph 2., Exclusions of Section l - Coverage A - Bodily injury And
Property Damage Liability:

This coverage does not apply to ”overspray" resulting from aerial application or dispersal of ”pollutants”.
3. DEDUCT|BLE

Any deductible provision of the policy which is applicable to Property Damage Liability coverage applies to this
coverage extension.

4. DEF|N|T|ONS
The following definition applies in addition to those in the policy.

”Overspray” means spray, from a device specifically designed for spray application or dispersai, that goes be-
yond the entire area of intended application or dispersal.

All other policy terms and conditions apply.

 

 

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55296 (7-05)
THlS ENDORSEMENT CHANGES THE POLlCY. PLEASE READ iT CAREFULLY.

EXCLUS|ON - ViOLATiON OF STATUTES THAT GOVERN
E-MA|LS, FAX, PHONE CALLS OR OTHER METHODS OF
SEND|NG MATER|AL OR lNFORMAT|ON

This endorsement modifies insurance provided under the following:
COMMERC|AL GENERAL LlABlLlTY COVERAGE PART.

1. The following exclusion is added to SECT|ON l - 2. The following exclusion is added to SECT|ON l -

 

 

COVERAGES, COVERAGE A. BOD|LY lNJUR¥
AND PROPERTY DAMAGE LlABlLlTY, 2. Exclu-
sions:

Distribution Of Materiai in Violation Of Statutes

”Bodily injury", or "property damage” arising di-
rectly or indirectly out of any action or omission
that violates or is alleged to violate:

(1) The Telephone Consumer Protection Act
(TCPA), including, any amendment of or addi-
tion to such law; or

(2) The CAN-SPAi\/l Act of 2003, including any
amendment of or addition to such law; or

(3) Any statute, ordinance or regulation, other
than the TCPA or CAN-SPAM Act of 2003, that
prohibits or limits the sending, transmitting,
communicating or distribution of material or
information

COVERAGES, COVERAGE B. PERSONAL lNJURY
AND ADVERTlSlNG lNJURY LlABlLlTY, 2. Exclu-
sions:

Distribution Of Materia| in Vioiation Of Statutes

Arising directly or indirectly out of any action or
omission that violates or is alleged to violate:

(1) The Telephone Consumer Protection Act
(TCPA), including, any amendment of or addi-
tion to such law; or

(2) The CAN-SPAl\/l Act of 2003, including any
amendment of or addition to such law; or

(3) Any statute, ordinance or regulation, other
than the TCPA or CAN-SPAi\/l Act of 2003, that
prohibits or limits the sending, transmitting,
communicating or distribution of material or
information.

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55300 (7-05)

COMMERC|AL GENERAL L|ABIL|TY COVERAGE FORM

Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights duties and

what is and is not covered

Throughout this policy the words ”you" and "your” refer to the Named insured shown in the Declarations and any
other person or organization qualifying as a Named insured under this policy. The words ”We”, "us” and ”our” refer

to the company providing this insurance.

The word ”insured" means any person or organization qualifying as such under Section li - Who ls An insured

Other words and phrases that appear in quotation marks have special meaning. Refer to Section V - Definitions.

SECT|ON l - COVERAGES

COVERAGE A. BOD|LY lNJURY AND PROPERTY
DAMAGE LlABlLlTY

1. insuring Agreement

a. We will pay those sums that the insured be-
comes legally obligated to pay as damages
because of "bodily injury" or "property dam-
age” to which this insurance applies We will
have the right and duty to defend the insured
against any "suit” seeking those damages
We may at our discretion investigate any
claim or "occurrence” and settle any claim or
"suit” that may result But:

(1) The amount we will pay for damages is
limited as described in Section iii - Limits
of lnsurance; and

(2) Our right and duty to defend end when we
have used up the applicable limit of insur-
ance in the payment of judgments or set-
tlements under Coverage A or B or medi-
cal expenses under Coverage C.

No other obligation or liability to pay sums or
perform acts or services is covered unless
explicitly provided for under Supplementary
Payments - Coverages A and B.

b. This insurance applies to "bodily injury" and

"property damage” only if:

(1) The "bodily injury" or "property damage”
is caused by an "occurrence" that takes
place in the ”coverage territory";

(2) The "bodily injury" or "property damage”
occurs during the policy period; and

(3) Prior to the policy period, no insured
listed under Paragraph 1. of Section ll -
Who is An insured and no ”employee”
authorized by you to give or receive no-
tice of an "occurrence" or claim, knew that
the "bodily injury" or "property damage”
had occurred in whole or in part if such
a listed insured or authorized ”employee” __
knew, prior to the policy period, that the
"bodily injury" or "property damage” oc-
curred, then any continuation, change or
resumption of such "bodily injury" or
"property damage” during or after the
policy period will be deemed to have been
known prior to the policy period

”Bodily injury" or "property damage” will be
deemed to have been known to have occurred
at the earliest time when any insured listed
under Paragraph 1. of Section ll - Who is An
insured or any ”employee” authorized by you

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to give or receive notice of an ”occurrence" or
claim:

(1) Reports all, or any part of the "bodily in-
jury" or "property damage” to us or any
other insurer;

(2) Receives a written or verbal demand or
claim for damages because of the "bodily
injury" or "property damage”; or

(3) Becomes aware by any other means that
"bodily injury" or "property damage” has
occurred or has begun to occur.

Damages because of "bodily injury" include
damages claimed by any person or organiza-
tion for care, loss of services or death result-
ing at any time from the "bodily injury".

2. Exclusions

This insurance does not apply to:

Expected Or intended injury

”Bodily injury" or "property damage” expected
or intended from the standpoint of the insured

, This exclusion does not apply to "bodily in-

jury" resulting from the use of reasonable
force to protect persons or property.

Contractuai Liability

”Bodily injury" or "property damage” for which
the insured is obligated to pay damages by
reason of the assumption of liability in a con-
tract or agreement This exclusion does not
apply to liability for damages:

(1) Assumed in a contract or agreement that
is an ”insured contract”, provided the
"bodily injury" or "property damage” oc-
curs subsequent to the execution of the
contract or agreement However, if the
insurance under this policy does not apply
to the liability of the insured it also does
not apply to such liability assumed by the
insured under an "insured contract”.

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(2) That the insured would have in the ab-
sence of the contract or agreement

Liquor Liability

”Bodily injury" or "property damage” for which
any insured may be held liable by reason of:

(1) Causing or contributing to the intoxication
of any person;

(2) The furnishing of alcoholic beverages to a
person under the legal drinking age or
under the influence of alcohol; or

(3) Any statute, ordinance or regulation re-
lating to the sale, gift distribution or use
of alcoholic beverages

This exclusion applies only if you are in the
business of manufacturing, distributing, sell-
ing, serving or furnishing alcoholic beverages
Workers Compensation And Simiiar Laws

Any obligation of the insured under a workers

compensation, disability benefits or unem-

ployment compensation law or any similar
iaw.

Empioyer’s Liability

"Bodily injury" to:

(1) An ”employee” of the insured arising out
of and in the course of employment by the
insured; or

(2) The spouse, child, parent brother or sis-
ter of that ”employee” as a consequence
of Paragraph (1) above.

This exclusion applies:

(1) Whether the insured may be liable as an
employer or in any other capacity; and

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(2) To any obligation to share damages with
or repay someone else who must pay
damages because of the injury.

This exclusion does not apply to liability as-
sumed by the insured under an ”insured con-
tract”.

Po|iution

(1) "Bodily injury" or "property damage”
arising out of the actual, alleged or
threatened discharge, dispersal, seepage,
migration, release or escape of "pollut-
ants”:

(a) At or from any premises site or loca-
tion which is or was at any time
owned or occupied by, or rented or
loaned to, any insured However, this
subparagraph does not apply to:

(i) "Bodily injury" if sustained within
a building and caused by smoke,
fumes vapor or soot produced by
or originating from equipment that
is used to heat cool or dehumidify
the building, or equipment that is
used to heat water for personal
use by the building’s occupants or
their guests;

(ii) "Bodily injury" or "property dam-
age” for which you may be held li-
able, if you are a contractor and
the owner or lessee of such
premises site or location has
been added to your policy as an
additional insured with respect to
your ongoing operations per-
formed for that additional insured
at that premises site or location
and such premises site or loca-
tion is not and never was owned
or occupied by, or rented or
loaned to, any insured other than
that additional insured; or

(b)

(C)

(d)

(iii)”Bodily injury" or "property dam-
age” arising out of heat smoke or
fumes from a ”hostile fire";

At or from any premises site or loca-
tion which is or was at any time used
by or for any insured or others for the
handling, storage, disposai, process-
ing or treatment of waste;

Which are or were at any time trans-
ported handled stored treated dis-
posed of, or processed as waste by or
for:

(i) Any insured; or

(ii) Any person or organization for
whom you may be legally respon-
sible;

At or from any premises site or loca-
tion on which any insured or any con-
tractors or subcontractors working di-
rectly or indirectly on any insured's
behalf are performing operations if the
"pollutants" are brought on or to the
premises site or location in connec-
tion with such operations by such in-
sured contractor or subcontractor.
However, this subparagraph does not

apply to:

(i) "Bodily injury” or "property
damage” arising out of the es-
cape of fuels lubricants or other
operating fluids which are
needed to perform the normal
electrical, hydraulic or mechani-
cal functions necessary for the
operation of ”mobile equipment”
or its parts if such fuels lubri-
cants or other operating fluids
escape from a vehicle part de-
signed to hold store or receive
them. This exception does not
apply if the "bodily injury" or
"property damage” arises out of
the intentional discharge, dis-
persal or release of the fuels,

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lubricants or other operating
fluids or if such fuels lubricants
or other operating fluids are
brought on or to the premises
site or location with the intent
that they be discharged dis-
persed or released as part of
the operations being performed
by such insured contractor or
subcontractor;

(ii) ”Bodily injury" or "property dam-
age” sustained within a building
and caused by the release of
gases fumes or vapors from ma-
terials brought into that building in
connection with operations being
performed by you or on your be-
half by a contractor or subcon-
tractor; or

(iii) "Bodily injury” or "property dam-
age” arising out of heat smoke or
fumes from a ”hostile fire”; or

(e) At or from any premises site or loca-
tion on which any insured or any con-
tractors or subcontractors working di-
rectly or indirectly on any insured’s
behalf are performing operations if the
operations are to test for, monitor,
clean up, remove, contain, treat de-
toxify or neutralize, or in any way re-
spond to, or assess the effects of,
”pollutants”.

(2) Any loss cost or expense arising out of
any:

(a) Request, demand order or statutory
or regulatory requirement that any in-
sured or others test for, monitor, clean
up, remove, contain, treat detoxify or
neutralize, or in any way respond to,
or assess the effects of, ”pollutants”;
or

(b) Claim or "suit” by or on behalf of a
governmental authority for damages
because of testing for, monitoring,

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cleaning up, removing, containing,
treating, detoxifying or neutralizing, or'
in any way responding to, or assess-
ing the effects of, ”pollutants”.

However, this paragraph does not apply to
liability for damages because of covered
"property damage” that the insured would
have in the absence of such request de-
mand order or statutory or regulatory re-
quirement or such claim or "suit” by or
on behalf of a governmental authority.

Aircraft, Auto Or Watercraft

"Bodily injury" or "property damage” arising
out of the ownership, maintenance, use or
entrustment to others of any aircraft "auto” or
watercraft owned or operated by or rented or
loaned to any insured Use includes opera-
tion and ”loading and unioading”.

This exclusion applies even if the claims
against any insured allege negligence or
other wrongdoing in the supervision, hiring,
employment training or monitoring of others
by that insured if the ”occurrence” which
caused the "bodily injury" or "property dam-
age” involved the ownership, maintenance,
use or entrustment to others of any aircraft
"auto” or watercraft that is owned or operated
by or rented or loaned to any insured

This exclusion does not apply to:

(1) A watercraft while ashore on premises
you own or rent;

(2) A watercraft you do not own that is:
(a) Less than 26 feet long; and

(b) Not being used to carry persons or
property for a charge;

(3) Parking an "auto” on, or on the ways next
to, premises you own or rent provided the
"auto” is not owned by or rented or
loaned to you or the insured;

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(4) Liability assumed under any ”insured
contract” for the ownership, maintenance
or use of aircraft or watercraft; or

(5) "Bodily injury" or "property damage”
arising out of the operation of any of the
equipment listed in paragraph f.(2) or f.(3)
of the definition of ”mobile equipment”.

Mobile Equipment

"Bodily injury" or "property damage” arising
out of:

(1) The transportation of ”mobile equipment”
by an "auto” owned or operated by or
rented or loaned to any insured; or

(2) The use of ”mobile equipment” in, or
while in practice for, or while being pre-
pared for, any prearranged racing, speed
demolition, or stunting activity.

War

"Bodily injury" or "property damage”, however
caused arising, directly or indirectly, out of:

(1) War, including undeclared or civil war;

(2) Warlike action by a military force, includ-
ing action in hindering or defending
against an actual or expected attack, by
any government sovereign or other
authority using military personnel or other
agents; or

(3) lnsurrection, rebellion, revolution, usurped
power, or action taken by governmental
authority in hindering or defending against
any of these.

Damage To Property
”Property damage” to:
(1) Property you own, rent occupy or use, in-

cluding any cost or expense incurred by
you, or any other person, organization or

entity, for repair, replacement enhance-
ment restoration or maintenance of such
property for any reason, including preven-
tion of injury to a person or damage to
another's property;

(2) Property that any of your:
(a) ”Employees”;
(b) ”Vo|unteer workers”;

(c) Partners or members (if you are a
partnership or joint venture); or

(d) Members (if you are a limited liability
company)

own, rent occupy or use. However, this
exclusion j.(2), shall not apply to your li-
ability for damage to such property;

(3) Premises you sell, give away or abandon,
if the "property damage” arises out of any
part of those premises;

(4) Property loaned to you;

(5) Personal property in the care, custody or
control of, or over which physical control
is being exercised for any purpose by any
insured;

(6) That particular part of real property on
which any insured or any contractors or
subcontractors working directly or indi-

rectly on your behalf are performing op-` 7 l _
erations, if the "property damage” arises 1

out of those operations; or

(7) That particular part of any property that
must be restored repaired or replaced
because "your work" was incorrectly per-
formed on it.

Paragraphs (1), (2), (4) and (5) of this exclu-
sion do not apply to "property damage” (other
than damage by fire) to premises including
the contents of such premises rented to you

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for a period of seven or fewer consecutive
days A separate limit of insurance applies to
Damage To Premises Rented To You as de-
scribed in Section ill - Limits Of lnsurance.

Paragraph (3) of this exclusion does not apply
if the premises are "your work” and were
never occupied rented or held for rental by
you.

Paragraphs (4), (5), (6) and (7) of this exclu-
sion do not apply to liability assumed under a
sidetrack agreement

Paragraph (7) of this exclusion does not apply
to "property damage” included in the ”prod-
ucts-completed operations hazard”.

Damage To Your Product

”Property damage” to "your product” arising
out of it or any part of it

Damage To Your Work

”Property damage” to ”your work” arising out ~

of it or any part of it and included in the
"products-completed operations hazard”.

. Damage To impaired Property Or Property Not
Physicai|y injured

”Property damage” to ”impaired property” or
property that has not been physically injured
arising out of:

(1) A defect deficiency, inadequacy or dan-
gerous condition in "your product” or
"your work”; or

(2) A delay or failure by you or anyone acting
on your behalf to perform a contract or
agreement in accordance with its terms

This exclusion does not apply to the loss of
use of other property arising out of sudden
and accidental physical injury to "your prod-
uc " or "your work” after it has been put to its
intended use.

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Recali Of Products, Work Or impaired Frop-
erfv

Damages claimed for any loss cost or ex-
pense incurred by you or others for the loss of
use, withdrawal, recall, inspection, repair, re-
placement adjustment removal or disposal
of:

(1) "Your product”;
(2) "Your work”; or
(3) ”impaired property”

if such product work or property is withdrawn
or recalled from the market or from use by
any person or organization because of a
known or suspected defect deficiency, inade-
quacy or dangerous condition in it.

Personai injury And Advertising injury

"Bodily injury" arising out of ”personai injury"
or "advertising injury".

Empioyment-Re|ated Practices
"Bodily injury" to:
(1) A person arising out of any:

(a) Refusal to employ a person;

(b) Termination of a person’s employ-
ment;

(c) Empioyment-reiated practice, policy,
act or omission, including but not lim-
ited to coercion, demotion, evaluation,
reassignment discipline, defamation,
harassment humiliation or discrimi-
nation directed at a person; or

(d) Criminal or civil action brought
against a person by or at the direction
of the insured directly or indirectly
related to any offense described in (a),
(b), or (c) above; or

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(2) Anyone as a consequence of "bodily in-
jury" to a person at whom any of the em-
ployment-related practices described in
Paragraphs (a), (b), (c), or (d) above is di-
rected.

This exclusion applies

(1) Whether the insured may be liable as an
employer or in any other capacity;

(2) Whether the offense is alleged to arise out
of the employment during the course or
scope of employment outside the course
or scope of employment or after termina-
tion of employment

(3) Whether directly or indirectly related to a
person’s prospective, current or past em-
ployment; and

(4) To any obligation to share damages with
or repay someone else who must pay
damages because of the injury.

Asbestos

Any claim, ”suit”, action or proceeding against
any insured arising out of the discharge, dis-
persal, release, escape or inhalation of any
asbestos-related particles dust irritants,
contaminants "pollutants", toxic elements or
materials

Communicable Disease

"Bodily injury" arising out of or resulting from
the transmission of any communicable dis-
ease by any insured

Siiica Or Siiica-Related Dust

Any claim, "suit”, action or proceeding against

any insured arising out of the discharge, dis-
persal, reiease, escape or inhalation of any

rarily occupied by you with permission of the
owner. A separate limit of insurance applies to
this coverage as described in Section iii - Limits
Of lnsurance.

COVERAGE B. PERSONAL lNJURY AND ~ ` ~

ADVERTlSlNG lNJURY LlABlLlTY
1. insuring Agreement

a. We will pay those sums that the insured be-
comes legally obligated to pay as damages
because of "personal injury" or ”advertising
injury" to which this insurance applies We
will have the right and duty to defend the in-
sured against any "suit” seeking those dam-
ages We may at our discretion investigate
any claim or offense and settle any claim or
"suit” that may result But:

(1) The amount we will pay for damages is
limited as described in Section ill - Limits
Of lnsurance; and

(2) Our right and duty to defend end when we
have used up the applicable limit of insur-
ance in the payment of judgments or set-

tlements under Coverage A or B or medi-, . `

cal expenses under Coverage C.

No other obligation or liability to pay sums or
perform acts or services is covered unless
explicitly provided for under Supplementary
Payments - Coverages A and B.

b. This insurance applies to "personal injury"
and ”advertising injury" only if:

(1) The "personal injury" or ”advertising in-
jury" is caused by an offense arising out
of your business; and

(2) The offense causing the "personal injury"
or ”advertising injury’l was committed in
the ”coverage territory” during the policy

”silica” or ”silica-related dust”. period_
Exclusions c. through n. do not apply to damage
by fire to premises while rented to you or tempo-
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2. Exclusions

This insurance does not apply to "personal injury"
or ”advertising injury":

Knowing Vio|ation Of Rights Of Another Or
Expected Or intended injury

(1) Caused by or at the direction of any in-
sured with the knowledge that the act
would violate the rights of another and
would inflict "personal injury" or ”adver-
tising injury"; or

(2) Expected or intended by any insured This
exclusion a.(2), does not apply to "per-
sonal injury".

Materia| Pub|ished With Knowledge Of Falsity

Arising out of oral or written publication of
material, if done by or at the direction of the
insured with knowledge of its falsity.

Materiai Pub|ished Prior To Poiicy Period

Arising out of oral or written publication of
material whose first publication took place
before the beginning of the policy period

Criminal Acts

Arising out of a criminal act or violation of a
penal statute or ordinance committed by or at
the direction of the insured

Contractual Liability

For which the insured has assumed liability in
a contract or agreement This exclusion does
not apply to liability for damages that the in-
sured would have in the absence of the con-
tract or agreement

Breach of Contract
Arising out of a breach of contract except an

implied contract to use another's advertising
idea in your ”advertisement”.

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g. Quaiity Or Performance Of Goods - Failure To

Conform To Statements Or Representations

Arising out of the failure of goods products or g ,t .. ,

services to conform with any statement or
representation of quality or performance
made in your ”advertisement".

Wrong Description Of Prices

Arising out of the wrong description of the
price of goods products or services

infringement Of Copyright Patent, Trademark
Or Trade Secret

Arising out of the infringement of copyright
patent ”trademark", trade secret or other in-
tellectual property rights

However, this exclusion does not apply to in-
fringement in your "advertisement” of copy-
right "trade dress” or slogan.

insureds in Media And internet Type Busi-
nesses

Committed by an insured whose business is:

(1) Advertising, broadcasting, publishing or
telecasting;

(2) Designing or determining content of web-
sites for others; or

(3) An lnternet search, access content or
service provider.

However, this exclusion does not apply to
Paragraphs 15. a., b. and c. of "personal in-
jury" under Section V - Definitions.

For the purposes of j.(1) of this exclusion, the
placing of frames borders links or advertis-
ing, for you or others anywhere on the inter-
net, is not by itself, considered the business of
advertising, broadcasting, publishing or tele-
casting.

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k. Electronic Chatrooms Or Bul|etin Boards

Arising out of an electronic chatroom or bui-
letin board the insured hosts owns or over
which the insured exercises control for any
purpose.

Unauthorized Use Of Another's Name Or
Product

Arising out of the unauthorized use of an-
other's name or product in your e-mail ad-
dress domain name or metatag, or any other
similar tactics to mislead another's potential
customers

Poliution

(1) Arising out of the actual, alleged or
threatened discharge, dispersal, seepage,
migration, release or escape of "pollut-
ants” at any time.

(2) For any loss cost or expense arising out
of any:

(a) Request, demand order or statutory
or regulatory requirement that any in-
sured or others test for, monitor, clean
up, remove, contain, treat detoxify or
neutralize, or in any way respond to,
or assess the effects of, ”pollutants";
or

(b) Claim or "suit” by or on behalf of a
governmental authority for damages
because of testing for, monitoring,
cleaning up, removing, containing,
treating, detoxifying or neutralizing, or
in any way responding to, or assess-
ing the effects of, ”pollutants”.

Empioyment-Re|ated Practices
(1) Arising out of any:

(a) Refusal to employ a person;

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(b) Termination of a person’s employ-
ment;

(c) Empioyment-related practice, policy,
actor omission, including but not lim-
ited to coercion, demotion, evaluation,
reassignment discipline, defamation,
harassment humiliation or discrimi-
nation directed at a person; or

(d) Criminal or civil action brought
against a person by or at the direction
of the insured directly or indirectly
related to any offense described in (a),
(b), or (c) above; or

(2) To anyone as a consequence of "personal
injury" or ”advertising injury" to a person
at whom any of the employment-related
practices described in Paragraphs (a), (b),
(c), or (d) above is directed

This exclusion applies

(1) Whether the insured may be liable as an
employer or in any other capacity;

(2) Whether the offense is alleged to arise out
of the employment during the course or
scope of employment outside the course
or scope of employment or after termina-
tion of employment

(3) Whether directly or indirectly related to a
person’s prospective, current or past em-
ployment and 1

(4) To any obligation to share damages with
or repay someone else who must pay
damages because of the injury.

Asbestos

For any claim, ”suit”, action or proceeding
against any insured arising out of the dis-
charge, dispersal, release, escape or inhala-
tion of any asbestos-related particles dust ir-
ritants, contaminants ”pollutants”, toxic ele-
ments or materials

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p. Communicable Disease

Arising out of or resulting from the transmis-
sion of any communicable disease by any in-
sured.

War

However, caused arising directly or indirectiy,
out of:

(1) War, including undeclared or civil war;

(2) Warlike action by a military force, includ-
ing action in hindering or defending
against an actual or expected attack, by
any government sovereign or other
authority using military personnel or other
agents; or

(3) lnsurrection, rebellion, revolution, usurped
power, or action taken by governmental
authority in hindering or defending against
any of these,

Siiica Or Siiica-Re|ated Dust
Any claim, ”suit”, action or proceeding against

any insured arising out of the discharge, dis-
persal, release, escape or inhalation of any

(1) The accident takes place in the ”coverage
territory” and during the policy period;

(2) The expenses are incurred and reported
to us within one year of the date of the
accident and

(3) The injured person submits to examina-
tion, at our expense, by physicians of our
choice as often as we reasonably require.

We will make these payments regardless of
fault These payments will not exceed the ap-
plicable limit of insurance. We will pay rea-
sonable expenses for:

(1) First aid administered at the time of an
accident;

(2) Necessary medicai, surgical, x-ray and
dental services including prosthetic de-
vices; and

(3) Necessary ambulance, hospital, profes-
sional nursing and funeral services

2. Exclusions

We will not pay expenses for "bodily injury":

”silica” or ”silica-related dust”. a. Any insured

COVERAGE C. MEDiCAL PAYMENTS To any insured except ”volunteer workers”.

1. insuring Agreement b. Hired Person

a. We will pay medical expenses as described

below for "bodily injury" caused by an acci-
dent

(1) On premises you own or rent;

(2) On ways next to premises you own or
rent; or

(3) Because of your operations

provided that:

To a person hired to do work for or on behalf
of any insured or a tenant of any insured

injury On Normally Occupied Premises

To a person injured on that part of premises
you own or rent that the person normally oc-
cupies

Workers Compensation And Simi|ar Laws

To a person, whether or not an ”employee” of
any insured if benefits for the "bodily injury"

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are payable or must be provided under a
workers compensation or disability benefit law
or a similar law.

e. Athietics Activities
To a person injured while practicing, instruct-
ing or participating in any physical exercises
or games sports or athletics contests

f. Products-Completed Operations Hazard

included within the ”products-completed op-
erations hazard”.

g. Coverage A Exclusions
Exciuded under Coverage A.
h. Asbestos

For any claim, ”suit”, action or proceeding
against any insured arising out of the dis-
charge, dispersal, release, escape or inhala-
tion of any asbestos related particle, dust ir-
ritant contaminant pollutant toxic element or
material.

i. Communicable Disease
Arising out of or resulting from the transmis-

sion of any communicable disease by any in-
sured

SUPPLEMENTARY PAYMENTS - COVERAGES A
AND B

if Coverage A or B apply, we will pay, with respect to
any claim we investigate or settle, or any "suit”
against an insured we defend:

1.

2.

Ail expenses we incur.

Up to $2000 for premiums on bail bonds required
because of accidents or traffic law violations
arising out of the use of any vehicle to which the
Bodily injury Liability Coverage applies We have
no obligation to apply for or furnish these bonds

3. Premiums on appeal bonds or bonds to release
attachments but only for bond amounts within the
applicable limit of insurance. We have no obliga-
tion to apply for or furnish these bonds

4. Ail reasonable expenses incurred by the insured
at our request including actual loss of earnings up
to $250 a day because of time off from work.

5. Ail costs taxed against the insured in the "suit”.

6. Prejudgment interest awarded against the insured
on that part of the judgment we pay. if we make
an offer to pay the applicable limit of insurance,
we will not pay any prejudgment interest based
on that period of time after the offer.

7. Ail interest on the full amount of any judgment
that accrues after entry of the judgment and be-
fore we have paid offered to pay, or deposited in
court the part ofjudgment that is within the appli-
cable limit of insurance.

These payments will not reduce the limits of insur-
ance.

SECT|ON il - WHO iS AN lNSURED
1. if you are designated in the Declarations as:

a. An individua|, you and your spouse are in-
sureds but only with respect to the conduct of
a business of which you are the sole owner.

b. A partnership or joint venture, you are an in-
sured Your members your partners and
their spouses are also insureds but only with
respect to the conduct of your business

c. A limited liability company, you are an in-
sured Your members are also insureds but
only with respect to the conduct of your busi-
ness Your managers are insureds but only
with respect to their duties as your managers

d. An organization other than a partnership, joint
venture or limited liability company, you are
an insured Your ”executive officers” and di-
rectors are insureds but only with respect to

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their duties as your officers or directors Your
stockholders are also insureds but only with
respect to their liability as stockholders

e. A trust you are an insured Your trustees are
also insureds but only with respect to their
duties as trustees

2. Each of the following is also an insured;

a. ¥our ”employees", other than either your ”ex-
ecutive ochers" (if you are an organization
other than a partnership, joint venture or lim-
ited liability company) or your managers (if
you are a limited liability company), but only
for acts within the scope of their employment
by you or while performing duties related to
the conduct of your business or your ”volun-
teer workers" only while performing duties
related to the conduct of your business How-
ever, none of these ”employees” or ”volunteer
workers" are insureds for "bodily injury",
"personal injury" or ”advertising injury":

(1) To you, to your partners or members (if
you are a partnership or joint venture), to
your members (if you are a limited liability
company), to a co-"employee” while in the
course of his or her employment or per-
forming duties related to the conduct of
your business or to your other ”volunteer
workers" while performing duties related
to the conduct of your business;

(2) To the spouse, child parent brother or
sister of that co-”employee" or ”volunteer
worker” as a consequence of Paragraph
(1) above;

(3) For which there is any obligation to share
damages with or repay someone else who
must pay damages because of the injury
described in Paragraphs (1) or (2) above;
or

(4) Arising out of his or her providing or fail-
ing to provide professional health care

b. Any person (other than your ”employee” or
”voiunteer worker”), or any organization while
acting as your real estate manager.

c. Any person or organization having proper
temporary custody of your property if you die,
but only:

(1) With respect to liability arising out of the
maintenance or use of that property; and

(2) Until your legal representative has been
appointed

d. Your legal representative if you die, but only
with respect to duties as such. That repre-
sentative will have all your rights and duties
under this Coverage Part.

With respect to ”mobile equipment” registered in
your name under any motor vehicle registration
law, any person is an insured while driving such
equipment along a public highway with your per-
mission. Any other person or organization re-
sponsible for the conduct of such person is also
an insured but only with respect to liability aris-
ing out of the operation of the equipment and
only if no other insurance of any kind is available
to that person or organization for this liability.
However, no person or organization is an insured
with respect to:

a. "Bodily injury" to a co-”employee” of the per-
son driving the equipment or

b. ”Property damage” to property owned by,
rented to, in the charge of or occupied by you
or the employer of any person who is an in-
sured under this provision.

Any organization you newly acquire or form, other
than a partnership, joint venture or limited liability
company, and over which you maintain ownership
or majority interest will qualify as a Named ln-
sured if there is no other similar insurance avail-
able to that organization. However:

services a. Coverage under this provision is afforded only
until the 90th day after you acquire or form '
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the organization or the end of the policy pe-
riod whichever is earlier;

b. Coverage A does not apply to "bodily injury"
or ”property damage” that occurred before
you acquired or formed the organization; and

c. Coverage B does not apply to "personal in-
jury" or ”advertising injury" arising out of an
offense committed before you acquired or
formed the organization.

No person or organization is an insured with respect
to the conduct of any current or past partnership, joint
venture or limited liability company that is not shown
as a Named insured in the Declarations

SECT|ON ill - LlMlTS OF lNSURANCE

1.

The Limits of insurance shown in the Declarations
and the rules below fix the most we will pay re-
gardless of the number of:

a. lnsureds;
b. Claims made or ”suits” brought or

c. Persons or organizations making claims or
bringing ”suits”.

The General Aggregate Limit is the most we will
pay for the sum of:

a. Medical expenses under Coverage C;

b. Damages under Coverage A, except damages
because of "bodily injury” or ”property dam-
age” included in the "products completed op-
erations hazard”; and

c. Damages under Coverage B.

The Products-Completed Operations Aggregate
Limit is the most we will pay under Coverage A
for damages because of "bodily injury" and
"property damage” included in the ”products-
completed operations hazard".

4. Subject to 2. above, the Personal injury and Ad-
veriising injury Limit is the most we will pay un-
der Coverage B for the sum of all damages be-
cause of all "personal injury" and all ”advertising '
injury" sustained by any one person or organiza-
tion.

5. Subject to 2. or 3. above, whichever applies the
Each Occurrence Limit is the most we will pay for
the sum of:

a. Damages under Coverage A; and
b. Medical expenses under Coverage C

because of all "bodily injury” and ”property dam-
age” arising out of any one ”occurrence”.

6. The Damage To Premises Rented To You Limit is
the most we will pay under Coverage A for dam-
ages because of ”property damage” to any one
premises while rented to you, or in the case of
damage by fire, while rented to you or temporarily
occupied by you with permission of the owner.

7. Subject to 5. above, the Medical Expense Limit is
the most we will pay under Coverage C for all
medical expenses because of ”bodily injury” sus-
tained by any one person.

8. Beginning with the effective date of this policy, we
will provide twice the General Aggregate Limit
(other than Products-Completed Operations),
shown in the Declarations

if this policy is written for more than one 12 month
period the General Aggregate Limit for each 12
month period shall never exceed twice the Gen-
eral Aggregate Limit shown in the Declarationsl
The General Aggregate Limit applies separately
to each 12 month period starting with the begin-
ning of the policy period shown in the Declara-
tions.

The Limits of insurance of this Coverage Part apply
separately to each consecutive annual period and to
any remaining period of less than 12 months starting
with the beginning of the policy period shown in the
Declarations unless the policy period is extended af-

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ter issuance for an additional period of less than 12
months ln that case, the additional period will be
deemed part of the last preceding period for purposes
of determining the Limits of insurance.

SECT|ON lV - COMMERC|AL GENERAL LlABlLlTY
COND|T|ONS

1. Bankruptcy

Bankruptcy or insolvency of the insured or the in-
sured’s estate will not relieve us of our obliga-
tions under this Coverage Part.

2. Duties in The Event Of Occurrence, Offense, Claim
Or Suit

a. You must see to it that we are notified as
soon as practicable of an ”occurrence” or an
offense which may result in a claim. To the
extent possible notice should include:

(1) How, when and where the ”occurrence” or
offense took place;

(2) The names and addresses of any injured
persons and witnesses; and

(3) The nature and location of any injury or
damage arising out of the ”occurrence” or
offense

b. if any claim is made or "suit” is brought
against any insured you must:

(1) immediately record the specifics of any
claim or "suit” and the date received; and

(2) Notify us as soon as practicable

You must see to it that we receive written no-
tice of any claim or "suit” as soon as practi-
cable

c. You and any other involved insured must:

(1) immediately send us copies of any corre-
spondence demands notices sum-
monses or papers in connection with any
claim or ”suit”;

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(2) Authorize us to obtain records and other
information;

(3) Cooperate with us in the investigation or
settlement of any claim or defense of any
”suit”; and

(4) Assist us upon our request in the en-
forcement of any right against any person
or organization which may be liable to the
insured because of injury or damage to
which this insurance may also apply.

d. No insured will, except at that insured's own
cost voluntarily make a payment assume any
obligation, or incur any expense, other than
for first aid without our consent

3. Legai Action Against Us

No person or organization has a right under this
Coverage Part:

a. To join us as a party or otherwise bring us
into a "suit” asking for damages from an in-
sured; or

b. To sue us on this Coverage Part unless all of
its terms have been fully complied with.

A person or organization may sue us to recover
on an agreed settlement or on a final judgment
against an insured obtained after an actual trial;
but we will not be liable for damages that are not
payable under the terms of this Coverage Part or
that are in excess of the applicable limit of insur-
ance. An agreed settlement means a settlement
and release of liability signed by us, the insured
and the claimant or the claimant’s legal repre-
sentative

Other insurance

if other valid and collectible insurance is available
to the insured for a loss we cover under Coverage
A or B of this Coverage Part our obligations are

limited as follows:

a. Primary insurance

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This insurance is primary except when b. be-
low applies. if this insurance is primary, our
obligations are not affected unless any of the
other insurance is also primary. Then, we will
share with all that other insurance by the
method described in c. below.

Excess insurance
This insurance is excess over:

(1) Any of the other insurance, whether pri-
mary, excess, contingent or on any other
basis:

(a) That is Fire, Extended Coverage,
Buiider’s Risk, installation Risk or
similar coverage for "your work”;

(b) That is Fire insurance for premises
rented to you or temporarily occupied
by you with permission of the owner;

(c) That is insurance purchased by you to
cover your liability as a tenant for
"property damage” to premises rented
to you or temporarily occupied by you
with permission of the owner; or

(d) if the loss arises out of the mainte-
nance or use of aircraft, ”autos” or
watercraft to the extent not subject to
Exclusion g. of Section l - Coverage A
- Bodily injury And Property Damage
Liability.

(2) Any other primary insurance available to
an insured, other than an additional in-
sured, covering liability for damages
arising out of the premises or operations,
or the products and completed operations,
for which you have been added as an ad-
ditional insured by attachment of an en-
dorsement.

When this insurance is excess, we will have
no duty under Coverage A or B to defend the
insured against any "suit” if any other insurer
has a duty to defend the insured against that

"suit”. if no other insurer defends, we will un-
dertake to do so, but we will be entitled to the
insured’s rights against all those other insur-
ers.

When this insurance is excess over other in-
surance, we will pay only our share of the
amount of the loss, if any, that exceeds the
sum of:

(1) The total amount that all such other insur-
ance would pay for the loss in the ab-
sence of this insurance; and

(2) The total of ali deductible and self-insured
amounts under all that other insurance.

We will share the remaining ioss, if any, with
any other insurance that is not described in
this Excess insurance provision and Was not
bought specifically to apply in excess of the
Limits of insurance shown in the Declarations
of this Coverage Part.

Method Of Sharing

if all of the other insurance permits contribu-
tion by equal shares, we will follow this
method aiso. Under this approach each in-
surer contributes equal amounts until lt has
paid its applicable limit of insurance or none
of the loss remains, whichever comes first.

if any of the other insurance does not permit
contribution by equal shares, we will contrib-
ute by iimits. Under this method, each in-
surer’s share is based on the ratio of its ap-
plicable limit of insurance to the total applica-
ble limits of insurance of all insurers

5. Premium Audit

a. We will compute ali premiums for this Cover-

age Part in accordance with our rules and
rates.

Premium shown in this Coverage Part as ad-
vance premium is a deposit premium only. At
the close of each audit period we will com-
pute the earned premium for that period and

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send notice to the first Named lnsured. The
due date for audit and retrospective premiums
is the date shown as the due date on the biii.
if the sum of the advance and audit premiums
paid for the policy period is greater than the
earned premium, we will return the excess to
the first Named insuredl

c. The first Named insured must keep records of
the information we need for premium compu-
tation, and send us copies at such times as
we may request.

6. Representations

By accepting this policy, you agree:

a. The statements in the Declarations are accu-
rate and complete;

b. Those statements are based upon represen-
tations you made to us; and

c. We have issued this policy in reliance upon
your representations

Separation Of insureds

Except with respect to the Limits of lnsurance,
and any rights or duties specifically assigned in
this Coverage Part to the first Named insured, this
insurance applies:

a. As if each Named insured were the only
Named insured; and

b. Separately to each insured against whom
claim is made or "suit” is brought.

Transfer Of Rights Of Recovery Against Others To
Us

if the insured has rights to recover all or part of
any payment we have made under this Coverage
Part, those rights are transferred to us. The in-
sured must do nothing after loss to impair them.
At our request, the insured will bring "suit” or
transfer those rights to us and help us enforce
them.

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9. Motor Vehic|e Laws

We will provide coverage:
a. Up to the minimum required limits; and

b. Subject to all the terms and conditions of the
policy

to comply with any motor vehicle insurance law to
the extent such law applies to the ”mobiie equip-
ment” covered by this Coverage Part.

However, this coverage only applies in the ab-
sence of any other applicable insurance.

SECT|ON V - DEF|N|T|ONS

1.

”Advertisement” means a notice that is broadcast
or published to the general public or specific
market segments about your goods, products or
services for the purpose of attracting customers
or supporters For the purposes of this definition:

a. Notices that are published include material
placed on the lnternet or on similar electronic
means of communication; and

b. Regarding web-sites, only that part of a web-
site that is about your goods, products or
services for the purpose of attracting custom-
ers or supporters is considered an advertise-
ment.

”Advertising injury" means injury arising out of
one or more of the following offenses:

a. Oral or written publication, in any manner, of
material that slanders or libels a person or
organization or disparages a person’s or or-
ganization’s goods, products or services in
your ”advertisement”;

b. Oral or written publication, in any manner, of
material that violates a person’s right of pri-
vacy in your "advertisement”;

c. The use of another's advertising idea in your

"advertisement”; or

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d. infringing upon another's copyright ”trade
dress” or slogan in your ”advertisement".

”Auto" means a land motor vehicle, trailer or
semitrailer designed for travel on public roads,
including any attached machinery or equipment
But "auto” does not include ”mobile equipment”.

"Bodily injury" means bodily injury, bodily sick-
ness or bodily disease sustained by a person, in-
cluding death resulting from any of these at any
time.

”Coverage territory” means:

a. The United States of America (including its
territories and possessions), Puerto Rico and
Canada;

b. international waters or airspace, but only if
the injury or damage occurs in the course of
travel or transportation between any places
included in a. above; or

c. All other parts of the world if the injury or
damage arises out of:

(1) Goods or products made or sold by you in
the territory described in a. above;

(2) The activities of a person whose home is
in the territory described in a. above, but
is away for a short time on your business;
or

(3) ”Personal injury" or ”advertising injury"
offenses that take place through the lnter-
net or similar electronic means of com-
munication

provided the insured’s responsibility to pay
damages is determined in a "suit” on the
merits, in the territory described in a. above
or in a settlement we agree to.

"Employee” includes a ”leased worker”. ”Em-
pioyee” does not include a ”temporary worker”.

"Executive officer" means a person holding any of

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10.

the officer positions created by your charter, con-
stitution, by-iaws or any other similar governing
document

”Hostile Hre” means one which becomes uncon-
trollable or breaks out from where it was intended
to be.

”impaired property” means tangible property,
other than ”your produc” or ”your work”, that
cannot be used or is less useful because:

a. it incorporates ”your product” or "your work”
that is known or thought to be defective, defi-
cient, inadequate or dangerous; or

b. You have failed to fulfill the terms of a con-
tract or agreement

if such property can be restored to use by:

a. The repair, replacement adjustment or re-
moval of "your produc ” or "your work”; or

b. Your fulfilling the terms of the contract or
agreement

”insured contract” means:

a. A contract for a lease of premises However,
that portion of the contract for a lease of
premises that indemnifies any person or or-
ganization for damage by fire to premises
while rented to you or temporarily occupied
by you with permission of the owner is not an
”insured contract”;

b. A sidetrack agreement;

c. Any easement or license agreement except __
in connection with construction or demolition
operations on or within 50 feet of a railroad;

d. An obligation, as required by ordinance, to in-
demnify a municipality, except in connection

with work for a municipality;

e. An elevator maintenance agreement; or

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f. That part of any other contract or agreement
pertaining to your business (including an in-
demnification of a municipality in connection
with work performed for a municipality) under
which you assume the tort liability of another
party to pay for "bodily injury" or ”property
damage” to a third person or organization.
Tort liability means a liability that would be
imposed by law in the absence of any contract
or agreement

Paragraph f. does not include that part of any
contract or agreement

(1) That indemnifies a railroad for "bodily in-
jury" or "property damage” arising out of
construction or demolition operations
within 50 feet of any railroad property and
affecting any railroad bridge or trestle,
tracks roadbeds tunnel, underpass or
crossing;

(2) That indemnifies an architect, engineer or
surveyor for injury or damage arising out
of:

(a) Preparing, approving, or failing to
prepare or approve, maps shop
drawings opinions reports surveys
field orders change orders or draw-
ings and specifications or

(b) Giving directions or instructions or
failing to give them, if that is the pri-
mary cause of the injury or damage;
or

(3) Under Which the insured, if an architect
engineer or surveyor, assumes liability for
an injury or damage arising out of the in-
sured’s rendering or failure to render
professional services including those
listed in (2) above and supervisory, in-
spection, architectural or engineering ac-
tivities.

11. ”Leased worker” means a person leased to you

by a labor leasing firm under an agreement be-
tween you and the labor leasing firm, to perform

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12.

13.

duties related to the conduct of your business
”Leased worker” does not include a ”temporary
worker”.

”Loading or unloading” means the handling of
property;

a. After it is moved from the place where it is
accepted for movement into or onto an air-
craft, watercraft or ”auto”;

b. While it is in or on an aircraft, watercraft or
”auto”; or

c. While it is being moved from an aircraft wa-
tercraft or "auto” to the place where it is fi-
nally delivered

but ”ioading or unloading” does not include the
movement of property by means of a mechanical
device, other than a hand truck, that is not at-
tached to the aircraft watercraft or ”auto”.

”i\/lobile equipment” means any of the following
types of land vehicles including any attached ma-
chinery or equipment

a. Bulldozers, farm machinery, forklifts and other
vehicles designed for use principally off public
roads;

b. Vehicies maintained for use solely on or next '
to premises you own or rent;

c. Vehicies that travel on crawler treads;
d. Vehicies whether self-propelled or not,
maintained primarily to provide mobility to '

permanently mounted:

(1) Power cranes shovels, loaders diggers
or driiis; or

(2) Road construction or resurfacing equip-
ment such as graders scrapers or rollers;

e. Vehicies not described in a., b., c., or d. above

that are not self-propelled and are maintained
primarily to provide mobility to permanently

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attached equipment of the following types:

(1) Air compressors pumps and generators
including spraying, welding, building
cleaning, geophysical expioration, lighting
and well servicing equipment or

(2) Cherry pickers and similar devices used
to raise or lower workers; or

f. Vehicies not described in a., b., c., or d. above
maintained primarily for purposes other than
the transportation of persons or cargo.

However, self-propelled vehicles with the fol-
lowing types of permanently attached equip-
ment are not ”mobiie equipment” but will be
considered ”autos”:

(1) Equipment designed primarily for:

(a) Snow removai;

into, or invasion of the right of private occu-
pancy of a room, dwelling or premises that a
person occupies committed by or on behalf of
its owner, landlord or lessor;

Oral or Written publication, in any manner, of
material that slanders or libels a person or
organization or disparages a person’s or or-
ganization’s goods products or services; or

Oral or written publication, in any manner, of
material that violates a person’s right of pri-
vacy.

16. ”Poilutants” mean any solid, liquid, gaseous or
thermal irritant or contaminant including smoke,
vapor, soot, fumes acids aikaiis, chemicals and
waste. Waste includes materials to be recycled,
reconditioned or reclaimed.

17. ”Products-completed operations hazard”:

a. includes all "bodily injury" and "property
(b) Road maintenance, but not construc- damage” occurring away from premises you
tion or resurfacing; or own or rent and arising out of ”your product”
or "your work” except:
(c) Street cleaning;
(1) Products that are still in your physical
(2) Cherry pickers and similar devices possession; or
mounted on automobile or truck chassis
and used to raise or lower workers; or (2) Work that has not yet been completed or
abandoned. However, "your work” will be
(3) Air compressors pumps and generators deemed completed at the earliest of the
including spraying, weiding, building following times:
cleaning, geophysical exploration, lighting
and well servicing equipment (a) When all of the work called for in your
contract has been completed
14. "Occurrence” means an accident including con-
tinuous or repeated exposure to substantially the (b) Wh€n'al| Of The Work 'fO be done at The
same general harmful conditions jOb Site has been Compieted if YOUF
contract calls for work at more than
15. ”Personal injury" means other than "bodily injury" One job Si'fe-
arising out of one or more of the following of-
fenses; (c) When that part of the work done at a
job site has been put to its intended
a. False arrest detention or imprisonment Use by any PerSOn Ol' Ol'QaniZa'fiCn
other than another contractor or sub-
b, Malicious prosecution; contractor working on the same proj-
ect.
c. The wrongful eviction from, wrongful entry
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Work that may need service, maintenance,
correction, repair or replacement but
which is otherwise compiete, will be
treated as completed.

b. Does not include "bodily injury" or "property
damage” arising out of:

(1) The transportation of property, unless the
injury or damage arises out of a condition
in or on a vehicle not owned or operated
by you, and that condition Was created by
the ”ioading or unloading” of that vehicle
by any insured;

(2) The existence of tools uninstailed equip-
ment or abandoned or unused materials
or

(3) Products or operations for which the clas-
sification, shown in the Declarations
states that products-completed operations
are included.

18. ”Property damage” means:

a. Physical injury to tangible property, including
all resulting loss of use of that property. All
such loss of use shall be deemed to occur at
the time of the physical injury that caused it;
Of'

b. Loss of use of tangible property that is not
physically injured. A|l such loss shall be
deemed to occur at the time of the ”occur-
rence” that caused it.

For the purposes of this insurance, electronic data
is not tangible property.

As used in this definition, electronic data means
information, facts or programs stored as or on,
created or used on, or transmitted to or from
computer software, including systems and appli-
cations soitware, hard or floppy disks CD-ROMS,
tapes drives cells data processing devices or
any other media which are used with electroni-
cally controlled equipment

19. ”Silica” means silicon dioxide (occurring in crys-

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20.

21.

22.

23.

24.

talline, amorphous and impure forms), silica par-
ticles silica dust or silica compounds

”Siiica-related dust” means a mixture or combi-
nation of silica and other dust or particles

”Suit" means a civil proceeding in which damages
because of "bodily injury", "property damage”,
"personal injury" or ”advertising injury" to which
this insurance applies are alleged. "Suit" in-
ciudes:

a. An arbitration proceeding in which such dam-
ages are claimed and to which the insured
must submit or does submit with our consent;
or

b. Any other alternative dispute resolution pro-
ceeding in which such damages are claimed
and to which the insured submits with our
consent

”Temporary worker” means a person who is fur-
nished to you to substitute for a permanent ”em-
ployee” on leave or to meet seasonal or short-
term workload conditions

”Trademark” means any registered or unregis-
tered word, name, symbol, sign, device or any
combination thereof used to identify or distinguish
a person’s or organization’s goods products or
services from those of others and to indicate or
identify the origin or source of such goods prod-
ucts or services even if the origin or source is
unknown. "Trademark” includes registered "trade
dress" and "trade dress" which is used with or in-
corporates any "trademark”.

”Trade dress" means the unregistered and non-
functional distinctive packaging, appearance, im-
age, design, color scheme or shape or combina-
tion thereof used to identify or distinguish a per-
son’s or organization’s goods products or serv-
ices from those of others and to indicate or iden-
tify the origin or source of such goods products
or services even if the source is unknown.
”Trade dress" does not include:

a. Registered "trade dress";

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b. ”Trademark”; or

c. ”Trade dress" which is used with or incorpo-
rates any ”trademark”.

25. "Volunteer worker” means a person who is not
your ”employee”, and who donates his or her
work and acts at the direction of and within the
scope of duties determined by you, and is not
paid a fee, salary or other compensation by you
or anyone else for their work performed for you.

26. "Your product”:
a. l\/leans:

(1) Any goods or products other than real
property, manufactured, sold, handied,
distributed or disposed of by:

(a) You;

(b) Others trading under your name; or

(c) A person or organization whose busi-
ness or assets you have acquired; and

(2) Containers (other than vehicles), materi-
als parts or equipment furnished in con-
nection with such goods or products

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b. |ncludes:

(1) Warranties or representations made at
any time with respect to the fitness qual-
ity, durability, performance or use of "your
produc ”; and

(2) The providing of or failure to provide
warnings or instructions

Does not include vending machines or other
property rented to or located for the use of
others but not sold,

27. "Your work”:

b.

Means:

(1) Work or operations performed by you or
on your behalf; and

(2) Materiais parts or equipment furnished in
connection with such work or operations

|ncludes:

(1) Warranties or representations made at
any time with respect to the fitness quai-
ity, durability, performance or use of ”your

work”; and

(2) The providing of or failure to provide
warnings or instructions

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55405 (7-06)

THIS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

COND|T|ONAL EXCLUS|ON OF TERROR|SM
lNVOLVlNG NUCLEAR, BlOLOGlCAL OR CHEM|CAL
TERROR|SM (RELAT|NG TO DlSPOSlTlON OF FEDERAL
TERROR|SM RlSK lNSURANCE EXTENSION ACT OF 2005)

This endorsement modifies insurance provided under the following:

COMMERC|AL GENERAL LlABlLlTY COVERAGE PART

L|QUOR LlABlLlTY COVERAGE PART

OWNERS AND CONTRACTORS PROTECT|VE LlABlLlTY COVERAGE PART
RAlLROAD PROTECT|VE LlABlLlTY COVERAGE PART

1.

A. Applicability Of This Endorsement (2) We are not required by the Program to
make terrorism coverage available to
The provisions of this endorsement will apply you and elect not to do so.
if and when one of the following situations oc-
curs: The Program is scheduled to terminate at the
end of December 31, 2007 unless renewed,
a. The federal Terrorism Risk insurance Pro- extended or otherwise continued by act of
gram (”Program”), established by the Ter- Congress.
rorism Risk insurance Extension Act of
2005, terminates; or 2. When this endorsement becomes applicable in
accordance with the terms of A.1.a. or A.1.b.,
b. The Program is renewed, extended or oth- above, it supersedes any terrorism endorse-
erwise continued in effect: ment already endorsed to this policy that ad-

dresses "certified acts of terrorism”.
(1) With revisions that increase insurers’

statutory percentage deductible or de- 3. if this endorsement does NOT become appli-
crease the federal government's cab|e, then any terrorism endorsement already
statutory percentage share in potential endorsed to this policy, that addresses ”certi-
terrorism losses above such deducti- tied acts of terrorism", will remain in effect
b|e, or that results in a change in the However, if the Program is renewed, extended
level or terms or conditions of cover- or otherwise continued in effect with revisions
age; and that change the level or terms or conditions of

coverage, and we are required to offer you the
revised coverage or to provide revised cover-

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age to those who previously accepted cover-
age under the Program, then we will take the
appropriate steps in response to the federal
requirements

B. The following definition is added and applies un-

der this endorsement wherever the term terrorism
is enclosed in quotation marks

"Terrorism” means activities against persons or-
ganizations or property of any nature:

1. That involve the following or preparation for
the following:

a. Use or threat of force or violence; or

b. Commission or threat of a dangerous act;
or

c. Commission or threat of an act that inter-
feres with or disrupts an eiectronic, com-
munication, information, or mechanical
system; and

2. When one or both of the following applies:

a. The effect is to intimidate or coerce a
government or the civilian population or
any segments thereof, or to disrupt any
segment of the economy; or

b. it appears that the intent is to intimidate
or coerce a government or the civilian
population, or to further poiitical, ideologi-
cal, religious social or economic objec-
tives or to express (or express opposition
to) a philosophy or ideology.

C. The following exclusion is added:

Exclusion Of "Terrorism"

We will not pay for "bodily injury", ”property dam-
age", "personal injury" or ”advertising injury"
caused directly or indirectly by ”terrorism”, in-
cluding action in hindering or defending against
an actual or expected incident of ”terrorism”. Ail
"bodily injury", ”property damage", "personal in-
jury" or ”advertising injury" is excluded regard-
less of any other cause or event that contributes
concurrently or in any sequence to such injury or
damage. This exclusion applies only when one
or more of the following are attributed to an inci-
dent of "terrorism”:

1. The ”terrorism” is carried out by means of the
dispersal or application of radioactive mate-
riai, or through the use of a nuclear weapon
or device that involves or produces a nuclear
reaction, nuclear radiation or radioactive
contamination;

2. Radioactive material is reieased, and it ap-
pears that one purpose of the ”terrorism” was
to release such material;

3. The "terrorism” is carried out by means of the
dispersal or application of pathogenic or poi-
sonous biological or chemical materials or

4. Pathogenic or poisonous biological or chemi-
cal materials are reieased, and it appears that
one purpose of the ”terrorism” was to release
such materials

i\/luitipie incidents of "terrorism” which occur
within a 72-hour period and appear to be carried
out in concert or to have a related purpose or
common leadership will be deemed to be one in-
cident regardless of whether this endorsement
was in effect during the entirety of that time pe-
riod or not

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59350 (1-06)

CAP ON LOSSES FROM CERT|F|ED ACTS OF TERROR|SM
AND
IMPORTANT lNFORMATlON REGARD|NG TERROR|SM RlSK lNSURANCE COVERAGE

it is agreed:

1. With respect to any one or more certified acts of terrorism, we will not pay any amounts for which we are not
responsible because of the application of any provision which results in a cap on our liability for payments for
terrorism losses in accordance with the terms of the federal Terrorism Risk insurance Extension Act of 2005 (in-
cluding ensuing Congressional actions pursuant to the Act).

2. Certified act of terrorism means any act certified by the Secretary of the Treasury, in concurrence with:

a. the Secretary of State; and
b. the Attorney General of the United States

to be an act of terrorism as defined and in accordance with the federal Terrorism Risk insurance Extension Act
of 2005.

3. Under the federal Terrorism Risk insurance Extension Act of 2005 a terrorist act may be certified:

a. if the aggregate covered commercial property and casualty insurance losses resulting from the terrorist act
exceed $5 million; and

b. (1) if the act of terrorism is:
a) a violent act; or
b) an act that is dangerous to human iife, property or infrastructure; and
(2) if the act is committed:

a) by an individual or individuals acting on behalf of any foreign person or foreign interest as part of
an effort to coerce the civilian population of the United States; or

b) to influence the policy or affect the conduct of the United States government by coercion.

Ail other policy terms and conditions appiy.

Page 1 of 2

 

lMPORTANT lNFORMATlON REGARD|NG TERROR|SM RlSK
lNSURANCE COVERAGE

The Terrorism Risk insurance Extension Act of 2005 was signed into law on December 22, 2005. The Act defines an
act of terrorism, to mean any act that is certified by the Secretary of the Treasury, in concurrence with the Secretary
of State and the Attorney General of the United States to be (i) an act of terrorism; (ii) to be a violent act or an act
that is dangerous to human iife, property or infrastructure; (iii) to have resulted in damage within the United States
or outside the United States in the case of certain air carriers or vessels or the premises of a United States mission;
and (iv) to have been committed by an individual or individuals acting on behalf of any foreign person or foreign
interest as part of an effort to coerce the civilian population of the United States or to influence the policy or affect
the conduct of the United States government by coercion.

Subject to the policy terms and conditions this policy provides insurance coverage for acts of terrorism as defined
in the Act.

Any coverage for certain commercial lines of property and casualty insurance provided by your policy for losses
caused by certified acts of terrorism are partially paid by the federal government under a formula established by
federal law. Under this formula, the government will reimburse us 90% of such covered losses that exceed the
statutory deductible paid by us during 2006 and 85% of such covered losses that exceed the statutory deductible
paid by us during 2007. You should also know that in the event aggregate insured losses exceed $100 billion during
any year the Act is in effect then the federal government and participating United States insurers that have met
their insurer deductible shall not be liable for the payment of any portion of that amount of the loss that exceeds
$100 billion. in the event that aggregate insured losses exceed $100 billion annually, no additional claims will be
paid by the federal government or insurers This formula is currently effective through December 31, 2007.

The premium charge, if any, for this coverage is shown separately on the attached Declarations page. in the event
of a certified act of terrorism, future policies also may include a government assessed terrorism loss risk-spreading
premium in accordance with the provisions of the Act.

Piease contact us if you would like to reject coverage for certified acts of terrorism.

Page 2 of 2

 

 

 

59390 (7-06)

NOT|F|CATION OF POSS|BLE CHANGES lN COVERAGE FOR
TERROR|SM

Dear Policyholder:

The Terrorism Risk insurance Extension Act of 2005 was signed into law on December 22, 2005 and will expire on
December 31, 2007 unless the Federal Government extends the Act. What this means to you is the following:

1.

Subject to policy terms and conditions the enclosed policy will provide insurance coverage for certified acts of
terrorism as defined in the Act only until December 31, 2007.

A conditional endorsement entitled, Conditional Exclusion Of Terrorism involving Nuclear, Biological Or Chemi-
cal Terrorism (Reiating To Disposition Of Federal Terrorism Risk insurance Extension Act of 2005) is enclosed.
This conditional endorsement will only apply if the Act is not extended beyond December 31, 2007 or if the Act is
revised to increase statutory deductibles, decrease the federal government’s share in potential losses above
the statutory deductibles, change the levels terms or conditions of coverage and we are no longer required to
make terrorism coverage available and elect not to do so. it will not apply if the Act is simply extended

The conditional endorsement will provide coverage for an incident of terrorism pursuant to the terms and con-
ditions of the policy only if the incident does not involve nuclear, biological or chemical material.

A premium charge for the conditional endorsement will be applied effective January 1l 2008. The premium will
be prorated for the remainder of the policy term and is one-half of the current premium charge appearing in the
Declarations for FOREIGN TERROR|SM - CERT|F|ED ACTS. Revised Declarations will be mailed to you after
January 1, 2008.

if the Act is extended without any revision, the enclosed policy will continue to exclude coverage for certified
acts of terrorism. The conditional endorsement will not be activated and the changes in coverage or premium
referenced above will not apply,

if the Act is extended with revisions or is replaced, and we are required or elect to continue to offer coverage
for certified acts of terrorism, we may amend this policy in accordance with the provisions of the revised Act or
its replacement

This notice is for informational purposes only.

if you have any questions concerning your policy or this notice, please contact your Auto-Owners agency.

 

COMMON POLlCY COND|T|ONS ii_00171135

Ail Coverage Parts included in this policy are subject to the following conditions

A. CANCELLAT|ON endorsement issued by us and made a part of this

 

 

1. The first Named insured shown in the
Declarations may cancel this policy by mailing
or delivering to us advance written notice of
cancellation.

2. We may cancel this policy by mailing or
delivering to the first Named insured written
notice of cancellation at least:

'a. 10 days before the effective date of
cancellation if we cancel for nonpayment
of premium; or

b. 30 days before the effective date of
cancellation if we cancel for any other
reason.

3. We will mail or deliver our notice to the first
Named insured’s last mailing address known
to us.

4. Notice of cancellation will state the effective
date of cancellation. The policy period will
end on that date.

5. if this policy is cancelled, we will send the first
Named insured any premium refund due. if
we cancel, the refund will be pro rata. if the
first Named insured cancels the refund may
be less than pro rata. The cancellation will be
effective even if we have not made or offered
a refund.

6. if notice is mailed, proof of mailing will be
sufficient proof of notice.

. CHANGES

This policy contains ali the agreements between
you and us concerning the insurance afforded.
The first Named insured shown in the
Declarations is authorized to make changes in the
terms of this policy with our consent This
poiicy’s terms can be amended or waived only by

policy.

. EXAM|NAT|ONS OF YOUR BOOKS AND

RECORDS

We may examine and audit your books and
records as they relate to this policy at any time
during the policy period and up to three years
afterward

. lNSPECTlONS AND SURVEYS

We have the right but are not obligated to:
1. Make inspections and surveys at any time;

2. Give you reports on the conditions we find;
and

3. Recommend changes

Any inspections surveys reports or
recommendations relate only to insurability and
the premiums to be charged. We do not make
safety inspections We do not undertake to
perform the duty of any person or organization to
provide for the health or safety of workers or the
public. And we do not warrant that conditions:

1. Are safe or healthfui; or

2. Comply with laws regulations codes or
standards

This condition applies not only to us but also to
any rating, advisory, rate service or similar
organization which makes insurance inspections
surveys reports or recommendations

PREM|UMS

The first Named insured shown in the
Declarations:

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1. is responsible for the payment of all
premiums; and

2. Will be the payee for any return premiums we
Pay-

F. TRANSFER OF YOUR RIGHTS AND DUT|ES

UNDER THlS POLICY

Your rights and duties under this policy may not
be transferred without our written consent except

in the case of death of an individual named
insured.

if you die, your rights and duties will be
transferred to your legal representative but only
while acting within the scope of duties as your
legal representative Until your legal represen-
tative is appointed, anyone having proper tempor-
ary custody of your property will have your rights
and duties but only with respect to that property.

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THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.
|L 00 21 11 85

NUCLEAR ENERGY L|ABIL|TY EXCLUS|ON ENDORSEMENT
(Broad Form)

This endorsement modifies insurance provided under the following:

1.

BUS|NESSOWNERS POLlCY

COMMERC|AL AUTO COVERAGE PART

COMMERC|AL GENERAL L|ABIL|TY COVERAGE PART

FARM COVERAGE PART

PRODUCTS/CO|V|PLETED OPERAT|ONS L|ABIL|TY COVERAGE PART

LlQUOR LlABlLlTY COVERAGE PART

POLLUTlON LlABlLlTY COVERAGE PART

OWNERS AND CONTRACTORS PROTECT|VE LlABlLlTY COVERAGE PART

RA|LROAD PROTECT|VE LlABlLlTY COVERAGE PART

SPEC|AL PROTECT|VE AND H|GHWAY LlABlLlTY POLlCY NEW YORK DEPARTl\/|ENT OF TRANSPORTAT|ON

The insurance does not apply: B. Under any Medical Payments coverage, to
expenses incurred with respect to "bodily
A. Under any Liability Coverage, to "bodily injury" resulting from the ”hazardous
injury" or "property damage:” properties" of ”nuclear material” and arising
out of the operation of a ”nuclear facility” by
(1) With respect to which an ”insured" under any person or organization.
the policy is also an insured under a
nuclear energy liability policy issued by C. Under any Liability Coverage, to "bodily
Nuclear Energy Liability insurance injury" or ”property damage” resulting from
Association, Mutua| Atomic Energy the ”hazardous properties” of ”nuclear
Liability Underwriters Nuclear insurance material,” if:
Association of Canada or any of their
successors or would be an insured under (1) The ”nuclear material” (a) is at any
any such policy but for its termination ”nuclear facility” owned by, or operated by

upon exhaustion of its limit of |lability; or or on behalf of, an ”insured” or (b) has
been discharged or dispersed therefrom;

(2) Resulting from the ”hazardous properties"

of ”nuclear material” and with respect to (2) The ”nuclear material" is contained in
which (a) any person or organization is ”spent fuel” or ”waste” at any time
required to maintain financial protection possessed, handled, used, processed,
pursuant to the Atomic Energy Act of 1954, stored, transported or disposed of by or
or any law amendatory thereof, or (b) the on behalf of an "insured”; or `
”insured” is or had this policy not been

issued would be, entitled to indemnity (3) The ”bodiiy injury" or ”property damage”

arises out of the furnishing by an
"insured” of services materials parts or

from the United States of America, or any
agency thereof, under any agreement

entered into by the United State of equipment in connection with the
America, or any agency thereof, with any planning, construction, maintenance,
person or organization. operation or use of any ”nuclear facility,”

but if such facility is located within the
United States of America, its territories or

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possessions or Canada, this exclusion (3)
applies only to ”property damage” to
such ”nuclear facility” and any property
thereat

As used in this endorsement

”Hazardous properties" include radioactive, toxic
or explosive properties

”Nuciear material" means ”source material,"
”Special nuclear material" or "by-product
material;”

”Source material," ”speciai nuclear material,”
and ”by-product material" have the meanings
given them in the Atomic Energy Act of 1954 or in
any law amendatory thereof;

”Spent fuel” means any fuel element or fuel
component solid or liquid, which has been used
or exposed to radiation in a ”nuclear reactor;”

. ”Waste” means any waste material (a) containing
”by-product material" other than the tailings or
Wastes produced by the extraction or
concentration of uranium or thorium from any ore
processed primarily for its ”source material"
content and (b) resulting from the operation by
any person or organization of any ”nuclear
facility” included under the first two paragraphs of
the dennition of ”nuclear facility.”

”Nuciear facility” means:

(a) Any ”nuclear reactor;”

(b) Any equipment or device designed or used for
(1) separating the isotopes of uranium or
plutonium, (2) processing or utilizing ”spent
fuei,” or (3) handling, processing or packaging
”waste;"

(c) Any equipment or device used for the
processing, fabricating or ailoying of ”special
nuclear material" if at any time the total
amount of such material in the custody of the
”insured” at the premises where such
equipment or device is located consists of or
contains more than 25 grams of plutonium or
uranium 233 or any combination thereof, or
more than 250 grams of uranium 235;

(d) Any structure, basin, excavation, premises or
place prepared or used for the storage or
disposal of ”waste;"

and includes the site on Which any of the
foregoing is located, all operations conducted on
such site and all premises used for such
operations

”Nuciear reactor” means any apparatus designed
or used to sustain nuclear fission in a seif-
supporting chain reaction or to contain a critical
mass of fissionabie material;

”Property damage” includes all forms of
radioactive contamination of property.

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THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

TENNESSEE CHANGES - CANCELLAT|ON AND NONRENEWAL

This endorsement modifies insurance provided under the following:

BOlLER AND MACH|NERY COVERAGE PART
COMMERC|AL AUTON|OB|LE COVERAGE PART
COMMERC|AL CRli\/lE COVERAGE PART*
COMMERC|AL GENERAL LlABlLlTY COVERAGE PART
COMMERC|AL PROPERTY COVERAGE PART
COMMERC|AL |NLAND MAR|NE COVERAGE PART
L|QUOR LlABlLlTY COVERAGE PART

POLLUT|ON L|ABIL|TY COVERAGE PART

PRODUCTS/COMPLETED OPERAT|ONS LlABlLlTY COVERAGE PART\

*This endorsement does not apply to coverage provided for employee dishonesty (Coverage Form A) or public

employee dishonesty (Coverage Forms O and P).

A. The following is added to the CANCELLAT|ON

Common Policy Condition: 4.

CANCELLAT|ON OF POL|C|ES IN EFFECT FOR 60

DAYS OR MORE. 5.

lf this policy has been in effect for 60 days or
more, or if this policy is a renewal of a policy we

issued, we may cancel this policy only for one or 6.

more of the following reasons:

1. Nonpayment of premium, including any
additional premium, calculated in accord-
ance with our current rating manual, justified

by a physical change in the insured property 7.

or a change in its occupancy or use;

2. Your conviction of a crime increasing any 8.

hazard insured against

Failure to comply with written loss control
recommendations

Material change in the risk which increases
the risk of loss after we issued or renewed
insurance coverage;

Determination by the insurance com-
missioner that the continuation of the policy
would jeopardize our solvency or would
place us in violation of the insurance laws of
Tennessee or any other state;

Your violation or breach of any policy terms
or conditions; or

Other reasons that are approved by the
insurance commissioner.

3. Discovery of fraud or material mis- Notice of cancellation will state the reason for
representation on the part of either of the cancellation.
following:

B. The following is added and supersedes any
a. You or your representative in obtaining provisions to the contrary:

this insurance; or

b. You in pursuing a claim under this NONRENEWAL

policy;

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if we decide not to renew this policy, we will
mail or deliver written notice of nonrenewal
to the first Named insured and agent at
least 60 days before the expiration date
unless:

a. We have offered to issue a renewal
policy; or

b. You have obtained replacement cov-
erage or have agreed in writing to
obtain replacement coverage.

Any notice of nonrenewal will be mailed or
delivered to the first Named insured’s and
agent’s addresses shown in the policy. if
notice is mailed, proof of mailing will be
sufficient proof of notice.

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